Case 1:14-ml-02570-RLY-TAB Document 19822 Filed 09/02/21 Page 1 of 5 PageID #:
                                 123216



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
__________________________________________


This Document Relates to Plaintiff(s)
 Bridgette Mention
__________________________________________
               1:21-cv-6574
 Civil Case #________________________________


                         AMENDED SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document

213). Plaintiff(s) further show the court as follows:

       1. Plaintiff/Deceased Party:
            Bridgette Mention
           ____________________________________________________________________

       2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

           claim:
             N/A
           ____________________________________________________________________

       3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):
             N/A
           ____________________________________________________________________

       4. Plaintiff’s/Deceased Party’s state of residence at the time of implant:

            Connecticut
           ____________________________________________________________________




                                                 1
Case 1:14-ml-02570-RLY-TAB Document 19822 Filed 09/02/21 Page 2 of 5 PageID #:
                                 123217



      5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

          Florida
          ____________________________________________________________________

      6. Plaintiff’s/Deceased Party’s current state of residence:
           Florida
         _____________________________________________________________________



      7. District Court and Division in which venue would be proper absent direct filing:
          Middle District of Florida, Jacksonville Division
         _____________________________________________________________________



      8. Defendants (Check Defendants against whom Complaint is made):

             X
             □       Cook Incorporated

            X□       Cook Medical LLC

            X□       William Cook Europe ApS

      9. Basis of Jurisdiction:

             X
             □       Diversity of Citizenship

             □       Other: ________________________________________________

         a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:
          Paragraphs 6-28.
         _____________________________________________________________________

         _____________________________________________________________________

         _____________________________________________________________________

         b. Other allegations of jurisdiction and venue:
          N/A
         _____________________________________________________________________

         _____________________________________________________________________

         _____________________________________________________________________


                                                2
Case 1:14-ml-02570-RLY-TAB Document 19822 Filed 09/02/21 Page 3 of 5 PageID #:
                                 123218



      10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

         (Check applicable Inferior Vena Cava Filters):

             □
             X       Günther Tulip® Vena Cava Filter

             □       Cook Celect® Vena Cava Filter

                     Gunther Tulip Mreye
                     Cook Celect Platinum
                     Other:
             ___________________________________________________________
      11. Date of Implantation as to each product:

         09/12/2009
         _____________________________________________________________________

         _____________________________________________________________________

      12. Hospital(s) where Plaintiff was implanted (including City and State):
         Lawrence + Memorial Hospital
         _____________________________________________________________________
          365 Montauk Ave., New London, CT 06320
         _____________________________________________________________________

      13. Implanting Physician(s):
          Dr. Todd Blue
         _____________________________________________________________________

         _____________________________________________________________________

         _____________________________________________________________________

         _____________________________________________________________________

      14. Counts in the Master Complaint brought by Plaintiff(s):

             X
             □       Count I:        Strict Products Liability – Failure to Warn

             X
             □       Count II:       Strict Products Liability – Design Defect

             X
             □       Count III:      Negligence

             □X      Count IV:       Negligence Per Se

                                               3
Case 1:14-ml-02570-RLY-TAB Document 19822 Filed 09/02/21 Page 4 of 5 PageID #:
                                 123219



             □X      Count V:          Breach of Express Warranty

             X
             □       Count VI:         Breach of Implied Warranty

             X
             □       Count VII:                                  Florida
                                       Violations of Applicable ________________ (insert State)

                     Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade

                     Practices

             □       Count VIII:       Loss of Consortium

             □       Count IX:         Wrongful Death

             □       Count X:          Survival

             X
             □       Count XI:         Punitive Damages

             □       Other:            ___________________ (please state the facts supporting

                     this Count in the space, immediately below)

             □       Other:            ___________________ (please state the facts supporting

                     this Count in the space, immediately below)

             __________________________________________________________________

             __________________________________________________________________

             __________________________________________________________________

             __________________________________________________________________

             __________________________________________________________________

      15. Attorney for Plaintiff(s):
          Taylor W. Williams
         _____________________________________________________________________

      16. Address and bar information for Attorney for Plaintiff(s):
          Taylor W. Williams
          UT Bar #: 17348
          Driggs, Bills & Day, PC
          737 E. Winchester St.
          Salt Lake City, UT 84107
          T: 801-308-9179                     4
Case 1:14-ml-02570-RLY-TAB Document 19822 Filed 09/02/21 Page 5 of 5 PageID #:
                                 123220


                                    Respectfully submitted,




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                                    Driggs, Bills & Day PC.
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                                    Salt Lake City, UT 84107
                                    T: 801-308-9179
                                    F: 801-752-0607
                                    twilliams@advocates.com


                               CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2021, a copy of the foregoing was
served electronically and notice of the service of this document will be sent to all parties by
operation of the Court’s electronic filing system to CM/ECF participants registered to receive
service in this matter. Parties may access this filing through the Court’s system. A copy of the
foregoing was also served via U.S. Mail to the following non-CM/ECF participants:


                                                       _________________________________________
                                                       /s/ Taylor W. Williams, UT Bar No. 17348




                                               5
